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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS

 BO SHEN, Individually and on Behalf of            Case No. 3:20-cv-00691-D
 All Others Similarly Situated,

                               Plaintiff,

               v.

 EXELA TECHNOLOGIES, INC.,
 RONALD COGBURN, JAMES G.
 REYNOLDS, AND PAR CHADHA

                            Defendants.




 UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL OF CO-LEAD PLAINTIFF
         ELENA SHAMGUNOVA CLAIMS AGAINST DEFENDANTS

       On June 12, 2020, the Court entered an Order appointing Insur Shamgunov and Elena

Shamgunova as Co-Lead Plaintiffs in the litigation (Dkt. No. 11). On August 5, 2021, Co-Lead

Plaintiffs filed the Second Amended Class Action Complaint against Defendants (Dkt. No. 44)

and on February 11, 2022 Defendants filed their Answer (Dkt. No. 61).

        Co-Lead Plaintiff Elena Shamgunova no longer desires to pursue her causes of action

against Defendants, individually or on behalf of the Class. Pursuant to Fed. R. Civ. P. 23(e) and

41(a)(2), a plaintiff may voluntarily dismiss his or her claims before certification of a class

without notice to absent class members or a court order. No class has been certified yet under

Fed. R. Civ. P. 23, and Co-Lead Plaintiff Insur Shamgunov continues to pursue claims against

Defendants on behalf of himself and the Class, so that the litigation can continue without

prejudice to any party resulting from Elena Shamgunova’s dismissal.

       As such, Co-Lead Plaintiffs respectfully move the Court to enter an order providing that:




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       1.       Elena Shamgunova withdraws her role as a Co-Lead Plaintiff against Defendants

                subject to the limitations in ¶3 below;

       2.       Elena Shamgunova relinquishes her role as a Co-Lead Plaintiff for the Class

                claims against Defendants with prejudice;

       3.       Elena Shamgunova shall retain her rights as a putative class member; and

       4.       Co-Lead Plaintiff Insur Shamgunov will continue to pursue the claims at issue,

                both individually and in his capacity as Court-appointed Lead Plaintiff on behalf

                of the Class of investors.

       Defendants do not oppose the voluntary dismissal of Elena Shamgunova’s claims or

items 1 through 3 above.       Defendants take no position with regarding Insur Shamgunov’s

continued service as Lead Plaintiff or item 4 above. Defendants otherwise reserve all objections

to class certification, including but not limited to any challenges to adequacy, typicality, and

predominance.




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Dated: December 19, 2022           Respectfully submitted,

                                   /s/ Kara M. Wolke
                                   Kara M. Wolke

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                                   and Elena Shamgunova

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                                   and Elena Shamgunova




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                                 CERTIFICATE OF SERVICE



       This is to certify that on December 19, 2022, I have filed the above and foregoing on the

Court’s CM/ECF electronic filing system, and that by virtue of this filing, all attorneys of record

will be served electronically with true and exact copies of this filing.

                                                              /s/ Kara M. Wolke

                                                              Kara M. Wolke




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